                   4:24-cv-01294-JD             Date Filed 03/18/24        Entry Number 4        Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the

                                                 __________ District of __________

          Crystal L. Dozier, individually, and                       )
          as parent and guardian on behalf of                        )
                       NC, a minor                                   )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                        Civil Action No. 4:24-CV-001294-JD
                                                                     )
             Horry County School District,
                                                                     )
            Nick Harris, Krysten Webster, and
             Mary Price (in their individual
                                                                     )
                       Capacities)                                   )
                                                                     )
                           Defendant(s)                              )

                                                 SUMMONS IN A CIVIL ACTION
                                      Horry County School District
To: (Defendant’s name and address)Nick Harris
                                      Krysten Webster
                                      Mary Price
                                      335 Four Mile Road
                                      Conway, SC 29526


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Aaron Wallace, Esquire
                                      Wallace Law Firm
                                      534 Saint Andrews Road
                                      STE B PMB 2002
                                      Columbia, SC 29210
                                      803-766-3997
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                              5RELQ/%OXPH
                                                                            CLERK OF COURT


Date:        03/18/2024                                                                       s/L. Gibbons
                                                                                      Signature of Clerk or Deputy Clerk
